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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

KIONNA CHRISTIAN,
                                                      Case No. 1:16-cv-00499-GJQ-PJG
              Plaintiff,
                                                      Hon. Gordon J. Quist
v.

MIDWEST RECOVERY FUND, LLC,
et al.,

            Defendants.
_________________________________/

                                   NOTICE OF SETTLEMENT

       The parties have agreed to settle this lawsuit as to all parties and intend to file appropriate

dismissal documents no later than December 23, 2016.



Dated: November 17, 2016                              /s/ Phillip C. Rogers
                                                      Phillip C. Rogers (P34356)
                                                      Attorney for Plaintiff
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